Case 2:19-cv-13429-PDB-DRG ECF No. 84-3 filed 08/03/20   PageID.3137   Page 1 of 6




                    Exhibit B
Case 2:19-cv-13429-PDB-DRG ECF No. 84-3 filed 08/03/20         PageID.3138     Page 2 of 6



                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF MICHIGAN


  GENERAL MOTORS LLC,
  GENERAL MOTORS COMPANY,                        No. 19-cv-13429

                      Plaintiffs,                Honorable Paul D. Borman
          against                                District Court Judge

  FCA US LLC, FIAT CHRYSLER                      Honorable David R. Grand
  AUTOMOBILES N.V., ALPHONS                      Magistrate Judge
  IACOBELLI, JEROME DURDEN,
  MICHAEL BROWN,

                      Defendants.



                     DECLARATION OF HARIKLIA KARIS

 I, Hariklia Karis, hereby declare as follows:

          1.   I am a partner at the law firm of Kirkland & Ellis LLP. I am an attorney

 licensed to practice in the State of Illinois and have been admitted to practice in this

 Court.

          2.   I represent plaintiffs General Motors LLC and General Motors

 Company (collectively, “GM”) in the above-captioned case. I began working on

 this matter in early 2019. Along with my partner Jeffrey Willian, who joined the

 team representing GM in this matter in the late summer of 2019, I have acted as

 GM’s lead outside counsel in connection with this matter.
Case 2:19-cv-13429-PDB-DRG ECF No. 84-3 filed 08/03/20         PageID.3139     Page 3 of 6



       3.     GM’s investigation into the facts underlying its original Complaint and

 proposed First Amended Complaint has been led by and conducted through

 attorneys at Kirkland & Ellis LLP, including myself, Jeffrey Willian, and others.

 The investigation in support of GM’s RICO action continues but, in light of the

 Court’s recent ruling, GM must now set forth allegations concerning new facts that

 have recently been discovered relating to apparent foreign account activity.

       4.     The facts were discovered through the use of investigators. GM has

 invoked and will continue to invoke the work product doctrine, attorney client

 privilege, and other applicable protections as to all aspects of its counsel’s work on

 this matter, including as to all investigators, agents and consultants. This declaration

 is intended to describe at a high-level, without waiving any applicable privileges or

 protections which are expressly reserved, when the new facts that are pled in support

 of the proposed Amended Complaint were discovered and why that information was

 not previously pled in an Amended Complaint.

       5.     Prior to filing its Complaint in November 2019, GM’s investigation

 into the facts underlying its allegations was extensive. The investigation included

 witness interviews, review of relevant publicly available information regarding

 criminal developments, close monitoring of the criminal proceedings against

 Defendants and their co-conspirators, review and analysis of internal GM documents

 and communications, the engagement of consultants, and an in-depth analysis of
Case 2:19-cv-13429-PDB-DRG ECF No. 84-3 filed 08/03/20         PageID.3140     Page 4 of 6



 collective bargaining negotiations and related agreements among GM, FCA, and the

 UAW since 2009. GM’s investigation continues through today.

         6.     When GM filed its Complaint on November 20, 2019, and until

 recently, there was no reference in the criminal proceedings or other indication that

 Defendants FCA US LLC (“FCA”) and Fiat Chrysler Automobiles N.V. (“FCA

 NV”) used offshore bank accounts to further their scheme through payouts to

 individuals with control and power to directly harm GM.

         7.     After the Court precluded GM from obtaining discovery from

 Defendants and relevant third parties, and as FCA continued to disavow any

 involvement in the bribery scheme while at the same time disclosing in its public

 filings that it has “engaged in discussions with the DOJ about a potential resolution

 of its investigation” arising from the fact that “[s]everal of the individual defendants

 have entered guilty pleas and some have claimed in connection with those pleas

 that they conspired with FCA US in violation of the Taft-Hartley Act”,1 through

 counsel, GM focused its review on FCA N.V.’s and its predecessor’s histories and

 governance through informal discovery, including alleged past but related illicit

 activities and unlawful conduct. GM came to learn through its investigation that Fiat

 and its executives had been involved in what certain publications referred to as



 1
     See Semi-Annual Report of Fiat Chrysler Automobiles, at 70 (July 31, 2020).
Case 2:19-cv-13429-PDB-DRG ECF No. 84-3 filed 08/03/20         PageID.3141     Page 5 of 6



 “Kickback City,” where Fiat S.p.A. apparently used certain foreign accounts to

 illicitly pay politicians to obtain commercial contracts.

       8.     After formal discovery was denied, as part of its ongoing investigation

 into the harm caused to GM through the bribery scheme FCA executives had

 admitted as well as new facts revealed in the government’s investigation, in mid-

 April 2020, GM, through outside counsel, retained and began working with third

 party investigators to assist in GM’s investigation. Certain of these third parties, all

 of whom have significant credentials supporting their investigative expertise,

 recently discovered reliable information indicating the existence of foreign accounts

 potentially connected to the scheme alleged in GM’s Complaint, as described below.

       9.     In the meantime, while the investigation was ongoing and in the

 preliminary phases, on May 26, 2020, the Court set an oral argument date on

 Defendants’ motions to dismiss. The oral argument was held on June 23, 2020.

 After oral argument, the Court issued a ruling that resulted in GM filing an

 Emergency Petition for Writ of Mandamus on June 27, 2020. The Sixth Circuit

 subsequently stayed this Court’s June 23, 2020 order and granted GM’s writ on July

 6, 2020. Two days later, on July 8, 2020, the Court issued its decision granting

 Defendants’ motions to dismiss with prejudice.

       10.    Only very recently, GM’s investigation has uncovered reliable

 information concerning the scope and breadth of relevant individuals with foreign
Case 2:19-cv-13429-PDB-DRG ECF No. 84-3 filed 08/03/20         PageID.3142    Page 6 of 6



 accounts. Specifically, only within the last 10 days did we obtain sufficiently

 reliable information concerning the existence of foreign bank accounts by various

 individuals previously and currently employed by FCA and former UAW Presidents

 and officers to allege in a public filing as stated in the First Amended Complaint the

 scope and significance of the foreign accounts.

       11.    Despite reasonable diligence in investigating GM’s claim, GM was

 previously unable to discover this evidence because it sought to obtain banking

 information through formal discovery which the court did not permit to proceed until

 after the Defendants’ Motion to Dismiss was resolved. GM, through counsel needed

 to identify a reputable investigative firm that could reliably obtain this information,

 which took several months especially given COVID limitations.

       I declare under penalty of perjury that the foregoing is true and correct to the

 best of my knowledge, information, and belief.



  Dated: August 3, 2020                            /s/ Hariklia Karis, P.C.
                                                   Hariklia Karis, P.C.
